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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                 Case No. 17-20372-CIV-WILLIAMS

    CRISTINA LABREAU,

             Plaintiff,

    vs.

    SYNERGETIC COMMUNICATIONS, INC.

             Defendant.
                                          ./


                     JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


                COMES NOW the plaintiff, CRISTINA LABREAU, and the Defendant, SYNERGETIC

COMMUNICATIONS, INC., pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), by and through their

undersigned counsel, hereby stipulate to dismiss, with prejudice, each claim and count therein asserted by

Plaintiff against the Defendant, in the above styled action, with Plaintiff and Defendant to bear their own

attorney’s fees, costs and expenses.

     By:
          s/ Amanda J. Allen, Esq.                          /s/Lauren M. Burnette
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                                   CERTIFICATE OF SERVICE

      I certify that on April 17, 2017 a copy of the foregoing document was served on all counsel of
record via CM/ECF.



                                           s/Amanda J. Allen, Esq.
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